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                            Exhibit I
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From: Peter Sorenson <peter@sorensonfoialaw.com>
Date: Tue, Jan 10, 2023 at 7:34 PM
Subject: Naumes v Army - narrowing issues for 2-10-203 Fee Motion
To: Haberland, John (USADC) <John.Haberland@usdoj.gov>


January 10, 2023

Mr. John B. Haberland
Special Assistant United States Attorney
District of Columbia
601 D Street NW
Washington, D.C. 20530
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john.haberland@usdoj.gov

re: Naumes v Army - narrowing issues for 2-10-203 Fee Motion

Dear Mr. Haberland,

The Court has now issued an order requiring the Plaintiff to submit its fee motion on February
10, 2023, about a month from now. The Court's Order states:

MINUTE ORDER: The Court ORDERS that: 1) The Consent [33] Motion for
Extension of Time is GRANTED; 2) Plaintiff shall file her Motion for costs and fees
by February 10, 2023; 3) Defendant shall file its Opposition to Plaintiff's motion by
April 7, 2023; and 4) Plaintiff shall file her Reply by May 19, 2023. So ORDERED by
Judge James E. Boasberg on 12/21/2022. (lcjeb2)


Our work on this Motion will begin soon. I ask you to cooperate with Plaintiff and assist the
Court to narrow the issues involved in the fee motion.


In order to narrow some of the issues involved, I've put together a list of items that I think your
client would agree to.


Here are items I'd like your client to agree to:
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1) Plaintiff's costs to file the case was $402 and it is reasonable; you have this receipt;


2) Plaintiff's costs to serve Defendant, United States Attorney and United States Attorney
General was $26.15 and it is reasonable; you have this receipt;


3) Plaintiff is eligible to an award of reasonable attorneys' fees and costs;


4) Plaintiff is entitled to an award of reasonable attorneys' fees and costs;


5) Plaintiff's reasonable rates for attorneys and paralegals are agreed as those on the Fitzpatrick
Matrix, https://www.justice.gov/usao-dc/page/file/1504361/download


Does your client agree to the five items listed above? If so, it will enable this process to move
much more quickly, and far less expensively. If you and your client agree to the items listed
above, please send me an email. If you are not willing or able to agree to these reasonable
requests, I understand it is a Plaintiff's burden to prove each item. The additional process, work
and effort to prove these items, in my view, will result in Defendant's costs going up.


Best,


C. Peter Sorenson
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peter@sorensonfoialaw.com
